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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


UNITED STATES OF AMERICA                                                              PLAINTIFF


v.                                                   CRIMINIAL ACTION NO. 3:19-CR-19-DJH


BRYAN D. CONLEY                                                                      DEFENDANT


            MOTION FOR LEAVE TO FILE LATE AND EXTENSION OF TIME

                                        Electronically Filed

        Comes the United States of America, by counsel, Joshua Judd, Assistant United States

Attorney for the Western District of Kentucky and requests the Court for an extension of time up

to and including January 23, 2023, If the Court grants the leave to file a late response to motion to

dismiss for speedy trial and this extension, the United States’ response would be due January 23,

2023.

        WHEREFORE, the United States respectfully requests leave to file a late response with a

request for extension of time to respond to motion to dismiss for speedy trial.


                                              Respectfully submitted,

                                              MICHAEL A. BENNETT
                                              UNITED STATES ATTORNEY

                                              /s/ Joshua Judd
                                              Assistant United States Attorney
                                              717 West Broadway, 4th Floor
                                              Louisville, Kentucky 40202
                                              (502) 582-5911
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on January 23, 2023, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
counsel of record:



                                             /s/ Joshua Judd
                                             Joshua Judd
                                             Assistant United States Attorney




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